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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA
                                                    CRIMINAL CASE NO. 21-051(TJK)
                V.

 BRYAN BETANCUR


                                   NOTICE TO THE COURT

       The United States hereby files this amended notice to the Court. At a status hearing on

September 7, 2021, the government represented to the Court that, for the most part, discovery

directly relevant to the defendant has been provided to the defense. Following the hearing, the

government learned that additional data was recently exploited by the FBI from electroninc media

seized from the defendant during the course of this investigation. This data has not yet been

uploaded to the FBI system for external production. The government has reached out to the

defense to determine the best way to provide this information to the defense as expeditiously as

possible.

       The FBI has conducted a cursory review of the data; and based on this review, it is our

understanding that there is no additional information contained therein that has not previously been

provided to the defense related to the instant case and that the data does not contain any exculpatory

information.

       The government apologizes to the court for any misunderstanding.
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                                  Respectfully submitted,


                                  CHANNING D. PHILLIPS
                                  ACTING UNITED STATES ATTORNEY
                                  D.C. Bar Number 415793


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